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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.


  ACCESS SAVINGS, INC., d/b/a HIT A DOUBLE,
  a Florida for-profit corporation,

        Defendant.
  ______________________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant ACCESS

  SAVINGS, INC. d/b/a HIT A DOUBLE, a Florida for-profit corporation and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).



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         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  As a result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and only has very limited use of his left hand. Further as a consequence of his disease,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

  similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or their

  respective and associated websites are in compliance with the ADA, the Rehab Act, and any other

  applicable disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which

  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than



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  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a retail sports apparel

  and accessories store that Plaintiff intended to patronize in the near future located at 1141 Holland

  Drive, Suite 31, Boca Raton, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.       Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a retail sports apparel and accessories store under the name “Hit A

  Double”. The Hit A Double store is open to the public. As the owner and operator of this retail

  store, Defendant is defined as a place of “public accommodation" within meaning of Title III

  because Defendant is a private entity which owns and/or operates “a bakery, grocery store, clothing




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  store, hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, Defendant’s physical store is a

  place of public accommodation subject to the requirements of Title III of the ADA, 42 U.S.C.

  §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://hitadouble.com (the “Website”). Defendant also sells to the public its merchandise through

  the Website, which acts as a point of sale for Defendant’s merchandise available in, from, and

  through its physical store.

         13.     The Website also services Defendant’s physical store by providing information on

  its available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about

  Defendant’s physical store, purchase merchandise also available for purchase in and from the

  physical store, purchase gift cards for use in the physical store, and sign up for an emailer to receive

  exclusive online offers, invitations, and discounts for use online and in the physical store, the

  Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges, and

  advantages of Defendant’s physical store, which is a place of public accommodation under the

  ADA. As an extension of and service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar location. Furthermore, the Website is a necessary service and privilege of Defendant’s

  physical store in that, as a point of sale for Defendant’s store, it enables users of the Website to



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  make online purchases of Defendant’s merchandise that is also available from and in its physical

  store.

           15.   Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical store, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical store, purchase gift cards to make

  purchases both online and in the physical store, and sign up for an emailer to receive exclusive

  online offers, benefits, invitations, and discounts for use online and in the physical store, the

  Website is an extension of and gateway to the physical store, which is a place of public

  accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a

  necessary service, privilege, and advantage of Defendant’s brick-and-mortar store that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical store.

           16.   At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar store that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the

  non-visually disabled public both online and in the physical store. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA.




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         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical store located at 1141 Holland Drive, Suite 31 Boca Raton, Florida, check

  store hours and merchandise pricing, purchase merchandise, purchase gift cards, and sign up for

  an emailer to receive exclusive offers, benefits, invitations, and discounts for use at the Website or

  in Defendant’s physical store. In the alternative, Plaintiff intends to monitor the Website in the

  near future as a tester to ascertain whether it has been remedied and updated to interact properly

  with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, and sign up for an emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use both online and in the physical store from his home are important and necessary

  accommodations for Plaintiff because traveling outside of his home as a physically and visually

  disabled individual is an often difficult, hazardous, frightening, frustrating, and confusing

  experience. Defendant has not provided its business information in any other digital format that

  is accessible for use by blind and visually impaired individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     During the month of June 2021 and again in March 2022, Plaintiff attempted on a

  number of occasions to utilize the Website to browse through the merchandise and online offers

  to educate himself as to the merchandise, sales, discounts, and promotions being offered, learn

  about the brick-and-mortar store, check store hours, and check pricing of merchandise with the

  intent to making a purchase through the Website or at the physical store. Plaintiff, also attempted



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  to access and utilize the Website in his capacity as a tester to determine whether it was accessible

  to blind and visually disabled persons such as himself who use screen reader software to access

  and navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

         a.      Return to home page/company logo button is mislabeled;

         b.      Prices are inaccessible;

         c.      The header banner stating “Questions? Call 561-372-2681 weekdays between
                 9am – 5:pm EST” is inaccessible;

         d.      If a size is out of stock, the word is grayed out with a line through it, and it is
                 inaccessible when using a screen reader; there is no notification the size is
                 not available;

         e.      Inside the shopping cart the item color, size, price, subtotal, and total savings
                 are not labeled to integrate with the screen reader;

         f.      The “X” button to remove items from the shopping cart is mislabeled as “close”;

         g.      Once an item is removed from the shopping cart, there is no notification that the
                 action was executed and it states “no item in view” even when there are remaining
                 items in the cart;

         h.      Text throughout the website is not labeled; the cursor skips the information and
                 navigates to the nearest available link, button, or header; and

         i.      At the footer the website, on the Contact Us page, the store hours, phone orders,
                 and mail us links are all inaccessible.




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         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  When Plaintiff first visited the Website, no “accessibility” link or notice, statement, or policy

  existed on the Website. When Plaintiff revisited the Website in March 2022, after Plaintiff had

  filed a Charge of Discrimination with the Palm Beach County Office of Equal Opportunity,

  Defendant added an “accessibility” widget and/or plug-in to the Website to purportedly make it

  more accessible. However, that “accessibility” widget with its “accessibility” statement still could

  not be effectively accessed by, and continued to be a barrier to, blind and visually disabled persons,

  including Plaintiff. Plaintiff, thus, was unable to receive complete or any meaningful or prompt

  assistance through the “accessibility” widget and its statement to enable him to quickly, fully, and

  effectively navigate the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

  to his severe visual disability and the Website’s access barriers. Alternatively, as a tester using



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  screen reader software, Plaintiff is unable to effectively access, navigate, and communicate with

  Defendant through the Website due to his severe blindness and visual disability and the Website’s

  access barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will

  suffer continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and

  practices as set forth herein unless properly enjoined by this Court.

          26.     Because of the nexus between Defendant’s retail store and the Website, and the fact

  that the Website clearly provides support for and is connected to Defendant’s retail store for its

  operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar store that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

  visually disabled public both online and in the physical store, which is a places of public

  accommodations subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.



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           31.   On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

           32.   On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

           33.   On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

           34.   Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

           35.   Defendant has not created and instituted on the Website an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets fully

  accessible to the visually disabled or blind community.

           36.   The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

           37.   Defendant has not disclosed to the public any intended audits, charges, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website online from their

  homes.

           38.   Thus, Defendant has not provided full and equal access to, and enjoyment of, the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website in contravention of the ADA.

           39.   Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff.




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            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action.

            41.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website, which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            42.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

            43.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.

            44.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its Website’s access and operation.

            45.   Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

            46.   Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

            47.   Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

            48.   Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.



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         49.     Defendant is a public accommodation under the ADA as defined within

  §12181(7)(E) and is subject to the ADA.

         50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s store,

  purchase merchandise that is also available for purchase from and in the physical store, purchase

  gift cards for use both online and in the physical store, arrange in-store pickups of merchandise

  purchased online, and sign up for an electronic emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use both online and in the physical store. The Website thus is an

  extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s physical

  store. Further, the Website also serves to augment Defendant’s physical store by providing the

  public information about the physical store and by educating the public as to Defendant’s available

  merchandise sold through the Website and in the physical store.

         51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”




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         53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         55.     Because of the inaccessibility of the Website, individuals with disabilities who are

  blind and visually disabled are denied full and equal access to and enjoyment of the goods,

  information, and services that Defendant has made available to the public on its Website and in its

  physical store in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et

  seq.

         56.     The Website was subsequently visited by Plaintiff’s expert in June 2021 and again

  in March 2022, and the expert determination was that the same access barriers that Plaintiff had

  initially encountered, as well as numerous additional access barriers, existed. Defendant thus has

  made insufficient material changes or improvements to the Website to enable its full use and

  enjoyment by, and accessibility to, blind and visually disabled persons such as Plaintiff. Also,

  when the Website was first visited by the expert in June 2021, it did not contain any “accessibility”

  statement, policy, or link to make it more accessible to the blind and visually disabled. However,

  when the expert revisited the Website in March 2022, although the Website appeared to have an

  “accessibility” widget and/or plugin, with an “accessibility” statement link, added to its home



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  page, that “accessibility” widget and/or plugin and its “accessibility” statement still could not be

  used effectively or accessed by, and continued to be a barrier to, blind and visually disabled persons

  such as Plaintiff. Defendant thus has failed to make reasonable modifications in its policies,

  practices, or procedures when such modifications are necessary to afford goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities, in violation of 28

  C.F.R. §36.302. The lack of a viable and effective “accessibility” notice, policy, or statement and

  the numerous continuing access barriers as set forth in the Declaration of Plaintiff’s expert, Robert

  D. Moody, attached hereto as Composite Exhibit “A” and the contents of which are incorporated

  herein by reference, continue to render the Website not fully accessible to users who are blind and

  visually disabled, including Plaintiff.

         57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

         58.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         59.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.



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         60.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         64.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         65.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar physical stores, Plaintiff has suffered an

  injury in fact by being denied full access to, enjoyment of, and communication with Defendant’s

  Website and its physical store.




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         66.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical store and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website.

         68.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel



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  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

              to monitor and update the Website on an ongoing basis, to remove barriers in order that

              individuals with visual disabilities can access, and continue to access, the Website and

              effectively communicate with the Website to the full extent required by Title III of the

              ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

              disabled logo within the Website, wherein the logo 1 would lead to a page which would

              state Defendant’s accessibility information, facts, policies, and accommodations. Such

              a clear display of the disabled logo is to ensure that individuals who are disabled are

              aware of the availability of the accessible features of the Website;

         D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

              accessibility by implementing a website accessibility coordinator, a website application

              accessibility policy, and providing for website accessibility feedback to ensure

              compliance thereto;




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                      or similar.
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        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and




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           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.

        DATED: March 29, 2022.



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